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         AO 247 (02/08) Order Regarding Motion for Sentence Reduction                                                       -


                                               UNITED STATES DISTRICT COURT
                                                                        for the
                                                                                                              2009 JUN 12 AM fl : 09
                                         Southern District of Georgia
                                            Savannah Division
                           United States of America
                                          V.
                                                                          )  Case No: CR495-00123-015
                                  Antwan Rivers
                                                                          ) USMNo: 08932-021
       Date of Previous Judgment: January 9, 1996                         ) Kenneth Barre and John Ossick
       (Use Date of Last Amended Judgment if Applicable)                  ) Defendant's Attorney

                           Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

Upon motion of                         D
                                 the defendant                0
                                                   the Director of the Bureau of Prisons   the court under 18 U.S.C.
   § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
   subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
   § 994(u), and having considered such motion,
       IT IS ORDERED that the motion is:
                LI
                DENTED.             FXI
                               GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                           the last judgment issued) of 204       months is reduced to         162 months
        I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
        Previous Offense Level:     34                                        Amended Offense Level:      32
        Criminal History Category: 11                                         Criminal History Category: II
        Previous Guideline Range:   168                 to 210 months         Amended Guideline Range: 135 to 168 months

        II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
        X 't'he reduced sentence is within the amended guideline range.
           The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
           of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
           amended guideline range.
           Other (explain):




        III. ADDITIONAL COMMENTS
        The Court carefully considered each and every sentencing factor set forth in 18 U.S.C. § 3553(a) when reviewing the
        defendant's motion.



        Except as provided above, all provisions of the judgment dated             January 9, 1996,         shall remain in effect.
        IT IS SO ORDERED.

        Order Date:         c#c £
                                                                                                     Judge's signature


                                                                              William T. Moore, Jr.
        Effective Date:                                                       Chief Judge, U.S. District Court
                             (if different from order date)                                        Printed name and title
